
Alan C. Page, Associate Justice
The Director of the Office of Lawyers Professional Responsibility has filed a petition for disciplinary action alleging that respondent Robert Michael Bohanek has committed professional misconduct warranting public discipline, namely, online solicitation of a minor for sexual conduct, in violation of Minn. R. Prof. Conduct 8.4(b).
Respondent waives his rights under Rule 14, Rules on Lawyers Professional Responsibility (RLPR), unconditionally admits the allegations in the petition, and with the Director recommends that the appropriate discipline is an indefinite suspension with no right to petition for reinstatement for 3 years.
The court has independently reviewed the file and approves the recommended disposition.
Based upon all the files, records, and proceedings herein,
IT IS HEREBY ORDERED that:
1. Respondent Robert Michael Bohanek is indefinitely suspended from the practice of law, effective 14 days from the date of the filing of this order, with no right to petition for reinstatement for 3 years.
2. Respondent may petition for reinstatement pursuant to Rule 18(a)-(d), RLPR. Reinstatement is conditioned on successful completion of the professional responsibility portion of the state bar examination, satisfaction of continuing legal education requirements pursuant to Rule 18(e), RLPR, and proof of compliance with the terms of respondent's criminal probation.
3. Respondent shall comply with Rule 26, RLPR (requiring notice of suspension to clients, opposing counsel, and tribunals), and shall pay $ 900 in costs pursuant to Rule 24, RLPR.
